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                      UNITED STATES COURT OF APPEALS                      FILED
                             FOR THE NINTH CIRCUIT                         AUG 18 2023
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
In re: EDWARD CHARLES CHUNG,                     No.    23-80073
Esquire, Admitted to the Bar of the Ninth
Circuit: August 1, 2018,

                  Respondent.                    ORDER

Before: SCHROEDER, BERZON, and OWENS, Circuit Judges.

         In an order dated June 26, 2023, this court found that attorney Edward

Charles Chung (“Chung”) had fabricated a news article and “‘filed it with the

intent to mislead the court,’ and that in so doing Chung ‘perpetuated a fraud upon

the court.’” Al-Qarqani v. Chevron Corp., No. 19-17074, Ord. at 2, (9th Cir. June

26, 2023). Chung also violated an order of this court when he refused to appear for

the August 26, 2022 hearing before the court’s Special Master charged with

investigating the news article.

         Chung is directed to show cause in writing why he should not be sanctioned,

suspended, or disbarred from practice before this court for violating rules of

professional conduct and for conduct unbecoming a member of this court’s bar.

See Fed. R. App. P. 46(b)(1)(B), (c); 9th Cir. R. 46-2(a), (d), (i); Circuit Advisory

Note to 9th Cir. R. 46-2; 9th Cir. Gen. Ord. 12.9(a); see also Chambers v. Nasco,

Inc., 501 U.S. 32, 45-50 (1991). The response is due within 28 days of this order.




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The response to the order to show cause may also include a request for a hearing.

See 9th Cir. R. 46-2(d).

         If Chung does not request a hearing within 28 days, he will be deemed to

have waived his right to a hearing. See Fed. R. App. P. 46(b), (c); 9th Cir. R. 46-

2(d). If Chung does not file a response to this order within 28 days, the court will

take disciplinary action without further notice. Id.




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